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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO.: 5:99cr15-SPM

STEVE DANIELS,

           Defendant.
____________________________/

               ORDER TERMINATING SUPERVISED RELEASE

      This cause comes for consideration of Defendant Steve Daniels’ Motion to

Terminate Supervised Release (doc. 1590). Defendant has been on supervised

release for more than one year, during which time he has complied with all

conditions. The probation office and the Government were advised of the motion.

Probation has no objection to the requested relief and the Government takes no

position. Pursuant to Title 18, United States Code, Section § 3583(e) and

Federal Rule of Criminal Procedure 32.1(c)(2)(B), it is

      ORDERED AND ADJUDGED that Defendant’s Motion to Terminate

Supervised Release (doc. 1590) is granted. Defendant’s term of supervised

release is terminated and Defendant is discharged.

      DONE AND ORDERED this 18th day of August, 2005.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
